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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

BANDY LEE                                       :
             Plaintiff                          :
v.                                              :      No. 3:21cv389(SALM)
                                                :
YALE UNIVERSITY                                 :
          Defendant                             :

                                        JUDGMENT


      This matter came up for consideration on Defendant Yale University’s Motion to

Dismiss [Doc. #32], before the Honorable Sarah A. L. Merriam, United States District

Judge. On August 30, 2022, the Court, having considered the full record of the case,

including the applicable principles of law, entered a Ruling GRANTING the Motion to

Dismiss, and the Clerk of the Court was directed to close the case. It is hereby;

      ORDERED, ADJUDGED and DECREED that judgment shall enter in favor of

Defendant Yale University against Plaintiff Bandy Lee, and this case shall be closed.

      Dated at Bridgeport, Connecticut, this 30th day of August, 2022.


                                                DINAH MILTON KINNEY, Clerk



                                                By: ____/s/___________
                                                    Andrew Caffrey
                                                    Deputy Clerk




EOD: 8/30/2022
